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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TENNESSEE
                                   WESTERN DIVISION


 ROW VAUGHN WELLS, INDIVIDUALLY                     )
 AND AS ADMINISTRATRIX OF THE                       )
 ESTATE OF TYRE DEANDRE NICHOLS,                    )
 DECEASED,                                          )
                                                    )
          Plaintiffs,                               )
                                                    )
 v.                                                 )    CASE NO. 2:23-CV-02224
                                                    )    JURY DEMAND
 THE CITY OF MEMPHIS, A                             )
 MUNICIPALITY; CHIEF CERELYN DAVIS,                 )
 IN HER OFFICIAL CAPACITY; EMMITT                   )
 MARTIN III, IN HIS INDIVIDUAL                      )
 CAPACITY; DEMETRIUS HALEY, IN HIS                  )
 INDIVIDUAL CAPACITY; JUSTIN SMITH,                 )
 IN HIS INDIVIDUAL CAPACITY;                        )
 DESMOND MILLS, JR. IN HIS INDIVIDUAL               )
 CAPACITY; TADARRIUS BEAN, IN HIS                   )
 INDIVIDUAL CAPACITY; PRESTON                       )
 HEMPHILL, IN HIS INDIVIDUAL                        )
 CAPACITY; ROBERT LONG, IN HIS                      )
 INDIVIDUAL CAPACITY; JAMICHAEL                     )
 SANDRIDGE, IN HIS INDIVIDUAL                       )
 CAPACITY; MICHELLE WHITAKER, IN                    )
 HER INDIVIDUAL CAPACITY; DEWAYNE                   )
 SMITH, IN HIS INDIVIDUAL CAPACITY                  )
 AND AS AGENT OF THE CITY OF                        )
 MEMPHIS,
                                                    )
          Defendants.                               )


 DEFENDANT CITY OF MEMPHIS’S UNOPPOSED MOTION FOR LEAVE TO FILE
  SUPPLEMENTAL RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION FOR
                       PROTECTIVE ORDER


         Defendant City of Memphis (the “City”), by and through its undersigned counsel and

pursuant to Local Rule 7.2, moves this Court for leave to file a supplemental response in



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opposition to Plaintiff’s Motion for Protective Order (ECF No. 211). In support, the City states

the following:

         1.      On August 30, 2024, the City notified all counsel of record via email that it

intended to serve subpoenas duces tecum pursuant to Federal Rule of Civil Procedure 45 upon

five individuals: Morgan Jackson, Marvin Volker, Lori Volker, Melissa Volker, and Kris Volker.

         2.      Morgan Jackson is the mother of Mr. Nichols’s minor child.

         3.      The members of the Volker family were close friends with Mr. Nichols’s for most

of his life.

         4.      Counsel for Plaintiff, Romanucci & Blandin Law responded to inform the City

that it was authorized to accept service on behalf of Ms. Jackson.

         5.      The City served the subpoenas on Marvin Volker, Lori Volker, and Kris Volker on

September 4, 2024 and on Melissa Volker on August 30, 2024. See ECF Nos. 211-3, 211-4, 211-

5, 211-6.)

         6.      On September 25, 2024, Plaintiff filed a Motion for Protective Order (ECF No.

211) seeking to prevent the discovery of written communications of the Volker family and the

production of cell phone records.

         7.      Plaintiff’s Motion sought a protective order as to the Volker family, specifically,

on relevance, overbreadth, and proportionality grounds. (ECF No. 211, at PageID 1560.)

         8.      On October 10, 2024, the City timely responded in opposition to Plaintiff’s

Motion. (ECF No. 216.)

         9.      Plaintiff’s Motion remains pending before this Court.

         10.     On November 11–13, 2024, the City deposed Morgan Jackson, Marvin Volker,

Lori Volker, and Kris Volker.



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         11.     In light of testimony given during these depositions by Morgan Jackson and the

Volker family, the City seeks leave to file a supplemental response in opposition to Plaintiff’s

Motion for Protective Order.

         12.     Specifically, the City requests leave for the purpose of bringing to the Court’s

attention additional evidence demonstrating that the subpoenas are not overbroad, are not

disproportional to the needs of the case, and are highly relevant to the litigation.

         13.     For example, Morgan Jackson testified that Mr. Nichols was physically abusive to

her on a number of occasions. She also testified that she received $400,000 from Plaintiff’s

attorney at the Crump Firm on the same day that she signed an affidavit relinquishing her right to

administer the Estate of Tyre Nichols and assigning the representation to Plaintiff. The phone

records of Plaintiff could reveal additional evidence regarding this decision.

         14.     Marvin Volker testified that he, too, received money from Plaintiff, after agreeing

to have his daughter, Melissa Volker, “stand down” from making public comments about the

relationship between Tyre Nichols and Plaintiff RowVaughn Wells. The subpoena seeks precisely

those type of communications.

         15.     Further, Lori Volker testified regarding a physical incident between her daughter-

in-law and Mr. Nichols that resulted in Mr. Nichols’s broken front tooth. The defendants are

entitled to discover communications that shed light on that situation.

         16.     Kris Volker testified that Mr. Nichols and RowVaughn Wells had an argument just

days before the incident that resulted in Mr. Nichols living in his car. Clearly, communications

regarding Mr. Nichols’s situation on the night of the incident is relevant to the claims and

defenses in the litigation.




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         17.     To take another example, Ms. Jackson and the Volkers testified that Mr. Nichols

had no contact with his son following his arrest in 2017 for domestic violence. The subpoena

seeks communications between the Volkers and anyone regarding Mr. Nichols’ son.

         18.     The third-party subpoenas propounded on the Volker family and the cell phone

providers are likely to lead to discovery of material that is relevant to the issues in this litigation.

Moreover, the discovery sought is proportionate to the needs of the case—a case Plaintiff values

at $550 million.

         19.     The City asked counsel via email for all parties whether they oppose the relief

requested in this motion. All parties who responded stated no opposition.

         20.     For these reasons, the City requests leave to file a supplemental brief in support of

its opposition to Plaintiff’s Motion for Protective Order.

                 Dated: November 15, 2024

                                                        Respectfully submitted,


                                                        BAKER, DONELSON, BEARMAN,
                                                        CALDWELL & BERKOWITZ, P.C.

                                                        s/ Bruce McMullen
                                                        Bruce McMullen (#18126)
                                                        Jennie Vee Silk (#35319)
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                                                        Attorneys for Defendant City of Memphis,
                                                        Chief Cerelyn Davis in her Official
                                                        Capacity, and Dewayne Smith as Agent of
                                                        the City of Memphis



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                               CERTIFICATE OF CONSULTATION

         I, Bruce McMullen, certify that on November 15, 2024, Jennie Silk, counsel for the City

of Memphis, conferred with counsel for all parties via email regarding this motion. The parties

were asked whether they oppose the relief requested in this motion. A chart detailing the parties’

responses is below:


                       Party          Responding Counsel           Opposition?
                 Plaintiff        Sarah Raisch                    No
                 Long             Darryl O’Neal                   No
                 Hemphill         Betsy McKinney                  No
                 D. Smith         Betsy McKinney                  No
                 Whitaker         Robert Spence                   No
                 Sandridge        Laura Smittick                  No
                 Haley            No response                     N/A
                 Bean             No response                     N/A
                 Martin III       Florence Johnson                No
                 Mills, Jr.       No response                     N/A
                 J. Smith         Martin Zummach                  No



                                                     s/ Bruce McMullen
                                                     Bruce McMullen




                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing has been served upon all
counsel of record and the Guardian Ad Litem via the Court’s electronic filing system on
November 15, 2024.
                                                    s/ Bruce McMullen
                                                    Bruce McMullen




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